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   6   Attorneys for FRANCINI, INC.
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                                UNITED STATES DISTRICT COURT
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                                CENTRAL DISTRICT OF CALIFORNIA
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  11
       HANOVER AMERICAN                   Case No. 2:23-cv-10047-MRA-MAA
  12   INSURANCE COMPANY and
       CITIZENS INSURANCE COMPANY REQUEST FOR JUDICIAL
  13   OF AMERICA,                        NOTICE IN SUPPORT OF
                                          DEFENDANT FRANCINI
  14                  Plaintiff,          INC.'S OPPOSITION TO '
                                          HANOVER AMERICAN
  15   v.                                 INSURANCE COMPANY and
                                          CITIZENS INSURANCE
  16   FRANCINI, INC.; and DOES 1 through COMPANY OF AMERICA'S
       100, Inclusive                     MOTION FOR JUDGMENT ON
  17                                      THE PLEADINGS;
                      Defendant           OBJECTIONS TO
  18                                      PLAINTIFFS' REQUEST FOR
                                          JUDICIAL NOTIC~ FILED IN
  19                                      SUPPORT OF THE MOTION
  20                                               Date:          July 18, 2024
                                                   Time:          1:30 p.m.
  21                                               Dept:          lOB
  22                                               Assigned for all Pm;poses to:
                                                   Judge Monica Ramirez Almadani
  23
       -------------~
                                                   Action Filed:        November 29, 2023
  24

  25   III
  26
       Ill
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               REQUEST FOR JUDICIAL NOTICE ISO OPPOSITION TO MOTION FOR JUDGMENT
              ON THE PLEADINGS; OBJECTIONS TO PLAINTIFFS REQUEST FOR JUDICIAL NOTICE
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   1                   Defendant, Francini, Inc. ("Francini") hereby respectfully requests that this
  2    Court take judicial notice of the following documents pursuant to Federal Rules of
  3    Evidence Rule 201 in support of its Opposition to Motion for Judgement on the
  4    Pleadings.
   5                    1.               A true and correct copy of the Francini An,swer filed in the matter
   6   entitled Bustos-Mondragon, et al., v. Antolini Luigi, et al, Los Angeles County
   7   Superior Court Case No. 23STCV01424, filed on November 28, 2023, which is
   8   attached hereto as Exhibit "1 ". Judicial notice of this exhibit is proper because it is a
   9   record of a court of this state, and it is not subject to reasonable dispute because it
  1o   can be accurately and readily determined from sources whose accuracy cannot
  11   reasonably be questioned.
  12                    2.                A true and correct copy of the Francini Answer filed in the matter
  13   entitled Estrella-Moreno, et al., v. All Natural Stone, et al., San Francisco County
  14   Superior Court Case No. CGC-23-605643, filed on March 11, 2024, which is
  15   attached hereto as Exhibit "2". Judicial notice of this exhibit is proper because it is a
  16   record of a court of this state, and it is not subject to reasonable dispute because it
  17   can be accurately and readily determined from sources whose accuracy cannot
  18   reasonably be questioned.
  19                    3.                A true and correct copy of the Francini Answer filed in the matter
  20   entitled Gallegos-Botello, et al., v. Architectural Services, et al, Los Angeles County
  21   Superior Court Case No. 23STCV06368, filed on December 20, 2023, which is
  22   attached hereto as Exhibit "3". Judicial notice of this exhibit is proper because it is a
  23   record of a court of this state, and it is not subject to reasonable dispute because it
  24   can be accurately and readily determined from sources whose accuracy cannot
  25   reasonably be questioned.
  26                    4.                A true and correct copy of the Francini Answer filed in the matter
  27   entitled Gomez-Rivera et al., v. ADB Global Trade LLC, et al, Los Angeles County
  28   Superior Court Case No. 23STCV01612, filed on January 8, 2024, which is attached
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                         REQUEST FOR JUDICIAL NOTICE ISO OPPOSITION TO MOTION FOR JUDGMENT
                                                 ON THE PLEADINGS
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   1   hereto as Exhibit "4". Judicial notice of this exhibit is proper because it is a record of
   2   a court of this state, and it is not subject to reasonable dispute because it can be
   3   accurately and readily determined from sources whose accuracy cannot reasonably
   4   be questioned.
   5                  5.             A true and correct copy of the Francini Answer filed in the matter
   6   entitled Gonzalez, et al., v. ADB Global Trade LLC, et al, Los Angeles County
  7    Superior Court Case No. 21 STCV06984, filed on January 20, 2023, which is attached
   8   hereto as Exhibit "5". Judicial notice of this exhibit is proper because it is a record of
  9    a court of this state, and it is not subject to reasonable dispute because it can be
 1o    accurately and readily determined from sources whose accuracy cannot reasonably
 11    be questioned.
 12                   6.             A true and correct copy of the Francini Answer filed in the matter
 13    entitled Luna-Reyes, et al., v. Architectural Surfaces, et al, Los Angeles County
 14    Superior Court Case No. 23STCV00238, filed on November 16, 2023, which is
 15    attached hereto as Exhibit "6". Judicial notice of this exhibit is proper because it is a
 16    record of a court of this state, and it is not subject to reasonable dispute because it
 17    can be accurately and readily determined from sources whose accuracy cannot
  18   reasonably be questioned.
  19                  7.             A true and correct copy of the Francini Answer filed in the matter
 20    entitled Maciel, et al., v. Alpha Tile and Stone Inc., et al, Los Angeles County
 21    Superior Court Case No. 23STCV12007, filed on February 7, 2024, which is attached
 22    hereto as Exhibit "7". Judicial notice of this exhibit is proper because it is a record of
 23    a court of this state, and it is not subject to reasonable dispute because it can be
 24    accurately and readily determined from sources whose accuracy cannot reasonably
 25    be questioned.
 26                   8.             A !rue and correct copy of the Francini Answer filed in the matter
 27    entitled Melendez-Murillo, et al., v. AKG Trading USA, Inc. et al., Los Angeles
 28    County Superior Court Case No. 23STCV08596, filed on November 16, 2023, which
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                       REQUEST FOR JUDICIAL NOTICE ISO OPPOSITION TO MOTION FOR JUDGMENT
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   1   is attached hereto as Exhibit "8". Judicial notice of this exhibit is proper because it is
   2   a record of a court of this state, and it is not subject to reasonable dispute because it
   3   can be accurately and readily determined from sources whose accuracy cannot
   4   reasonably be questioned.
   5                9.             A true and correct copy of the Francini Answer filed in the matter
   6   entitled Montoya-Bautista, et al, v. Architectural Surfaces, Inc., et al., Los Angeles
   7   County Superior Court Case No. 23STCV11727, filed on April 8, 2024, which is
   8   attached hereto as Exhibit "9". Judicial notice of this exhibit is proper because it is a
   9   record of a court of this state, and it is not subject to reasonable dispute because it
  1o   can be accurately and readily determined from sources whose accuracy cannot
  11   reasonably be questioned.
  12                 10.           A true and correct copy of the Francini Answer filed in the matter
  13   entitled Moz-Murcia v. Architectural Surfaces, Inc., et al., Los Angeles County
  14   Superior Court Case No. 23STCV06384, filed on October 12, 2023, which is
  15   attached hereto as Exhibit "10". Judicial notice of this exhibit is proper because it is
  16   a record of a court of this state, and it is· not subject to reasonable dispute because it
  17   can be accurately and readily determined from sources whose accuracy cannot
  18   reasonably be questioned.
  19                 11.           In the matter entitled Ortiz v. Architectural Services, et al., Los Angeles
  20   County Superior Court Case No. 23STCV06568, an answer has not yet been filed,
  21   but that matter is pending. Francini will file that answer separately as Exhibit "11"
  22   if it becomes available prior to the hearing. Judicial notice of this exhibit will be
  23   proper because the answer will be a record of a court of this state, and not subject to
  24   reasonable dispute because it can be accurately and readily determined from sources
  25   whose accuracy cannot reasonably be questioned.
  26                 12.           A true and correct copy of the Francini Answer filed in the matter
  27   entitled Reyes-Cuevas, et al., v. Alpha Tile & Stone, et al., Los Angeles County
  28   Superior Court Case No. 23STCV00260, filed on March 1, 2024, which is attached
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                      REQUEST FOR JUDICIAL NOTICE ISO OPPOSITION TO MOTION FOR JUDGMENT
                                              ON THE PLEADINGS
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   1   hereto as Exhibit "12". Judicial notice of this exhibit is proper because it is a record
   2   of a court of this state, and it is not subject to reasonable dispute because it can be
   3   accurately and readily determined from sources whose accuracy cannot reasonably
   4   be questioned.
   5                    13.               A true and correct copy of the Francini Answer filed in the matter
   6   entitled Rivas-Williams v. AA Granite Marble, et al., Los Angeles County Superior
   7   Court Case No. 23STCV08523, filed on January 17, 2024, which is attached hereto
   8   as Exhibit "13". Judicial notice of this exhibit is proper because it is a record of a
   9   court of this state, and it is not subject to reasonable dispute because it can be
  1o   accurately and readily determined from sources whose accuracy cannot reasonably
  11   be questioned.
  12                    14.               A true and correct copy of the Francini Answer filed in the matter
  13   entitled Segura-Meza, et al., v. Agoura Hills Marble and Granite, Inc., et al., Los
  14   Angeles County Superior Court Case No. 22STCV38729, filed on January 30, 2024,
  15   which is attached hereto as Exhibit "14". Judicial notice of this exhibit is proper
  16   because it is a record of a court of this state, and it is not subject to reasonable dispute
  17   because it can be accurately and readily determined from sources whose accuracy
  18   cannot reasonably be questioned.
  19                     15.              A true and correct copy of the Francini Answer filed in the matter
  20   entitled Solano-Claustro et al., v. ADB Global Trade, LLC, et al., Los Angeles
  21   County Superior Court Case No. 23STCV11602, filed on April 22, 2024, which is
  22   attached hereto as Exhibit "15". Judicial notice of this exhibit is proper because it is
  23   a record of a court of this state, and it is not subject to reasonable dispute because it
  24   can be accurately and readily determined from sources whose accuracy cannot
  25   reasonably be questioned.
  26                     16.               A true and correct copy of the Francini Answer filed in the matter
  27   entitled Soto-Rodriguez, et al., v. AKG Trading (USA), Inc., et al., Los Angeles
  28   County Superior Court Case No. 23STCV08440, filed on February 16, 2024, which
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                          REQUEST FOR JUDICIAL NOTICE ISO OPPOSITION TO MOTION FOR JUDGMENT
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   1   is attached hereto as Exhibit "16". Judicial notice of this exhibit is proper because it
   2   is a record of a court of this state, and it is not subject to reasonable dispute because
   3   it can be accurately and readily determined from sources whose accuracy cannot
   4   reasonably be questioned.
   5                   17.             A .true and correct copy of the Francini Answer filed in the matter
   6   entitled Garcia-Rosas, et al., v. Architectural Surfaces., et al., Los Angeles County
   7   Superior Court Case No. 22STCV39957, filed on November 16, 2023, which is
   8   attached hereto as Exhibit "17". Judicial notice of this exhibit is proper because it is
   9   a record of a court of this state, and it is not subject to reasonable dispute because it
  1o   can be accurately and readily determined from sources whose accuracy cannot
  11   reasonably be questioned.
  12          OBJECTIONS TO PLAINTIFFS' REQUEST FOR JUDICIAL NOTICE
  13                                               FILED IN SUPPORT OF THE
  14                                     MOTION FOR JUDGMENT ON THE PLEADINGS
  15                   18.             As to Plaintiffs' Request and Exhibit No. 18, which purports to be a true
  16   and correct copy of29 Code of Federal Regulations sections 1910.1053, 1915.1053,
  17   and 1926.1153, Francini objects and asserts that judicial notice is improper. Judicial
  18   notice of this exhibit is improper because, although the language of the regulations
  19   may not be subject to reasonable dispute their relevance to the instant action and/or
  20   Francini in particular is disputed, particularly given the numerous exceptions and
  21   conditions predicating application of these provisions.
  22                   19.             As to Plaintiffs' Request and Exhibit No. 19, which purports to be a true
  23   and correct copy of California Code of Regulation, Title 8, sections 1530.1and5204,
  24   Francini objects and asserts that judicial notice is improper. Judicial notice of this
  25   exhibit is improper because, although the language of the regulations may not be
  26   subject to reasonable dispute their relevance to the instant action and/or Francini in
  27   particular is disputed, particularly given the numerous exceptions and conditions
  28   predicating application of these provisions.
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                        REQUEST FOR JUDICIAL NOTICE ISO OPPOSITION TO MOTION FOR JUDGMENT
                                                ON THE PLEADINGS
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   1   Dated: June 26, 2024                                        SHERMAN LAW GROUP
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   4                                                          ~?~---~---
                                                                   Richard Lloyd Sherman      ?
   5                                                               Attorney for Defendant
   6                                                               FRANCINI, INC.

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                                                ON THE PLEADINGS
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